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                                                                     September 6, 2022

           Via ECF Filing System
           Honorable Jessica S. Allen, U.S.D.M.
           United States District Court, District of New Jersey
           Martin Luther King Building & US Courthouse
           50 Walnut Street
           Newark, NJ 07101

                           Re: East Brunswick Township Bd. of Ed. v. D.S. and M.S. o/b/o A.S.
                           Case No.: 2:21-cv-08279 (BRM-TJB) – SCHEDULING LETTER

           Dear Judge Allen:

                 This office represents the Defendants/Counterclaimants in the above
           refenced action. Defendants submitted two letters to the Court, both of which were
           dated April 8, 2022 [ECF Docs. 49 and 50] regarding enforcing Judge Crowley’s
           Order dated January 5, 2021, and scheduling motions for summary judgment
           before the Federal Court. Plaintiff’s last docket entry was a letter to the Court dated
           January 10, 2022 [ECF Doc. 45], which was unrelated to these issues. Plaintiff’s
           counsel has not responded to Defendants’ counsel’s correspondences dated April 8,
           2022, July 25, 2022, August 5, 2022, and September 1, 2022. Therefore, in
           accordance with this Court’s directive, Defendants are submitting a status update
           and a proposed schedule for briefing said motions for summary judgment.

                  A.S. was supposed to attend the Lewis School of Princeton through to the
           end of the year in which she turned age 21 and the district had been Ordered to pay
           for said placement including transportation. However, A.S. was accepted to High
           Point University’s summer remediation program, which she successfully
           completed. Therefore, she has now been officially accepted into the University as a
           Freshman student and she is starting her first year there. That means that the school


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 district is no longer obligated to pay for her to attend the Lewis School or to
 provide her transportation for the 2022-2023 school year. Thus, the remaining
 issues in this case are the 50 hours of compensatory education and how those hours
 are to be translated into a dollar amount so that A.S. can use that money toward the
 cost of the special education program at High Point University, reimbursement of
 expert fees and costs to Defendants, and attorney’s fees from the Defendants
 prevailing in the due process action. Due to the denial of the Plaintiff’s request for
 a stay and Judge Martinotti’s Order, all other money and reimbursements have
 been paid. No further discovery is needed or has been requested. Plaintiff’s appeal
 is still pending, which is now ripe for summary judgment motions to be filed to
 address all of these issues. However, in the interim, since no stay was granted,
 Defendants assert that Plaintiff is not in compliance with ALJ Crowley and Judge
 Martinotti’s Orders regarding the provision of the 50 hours of compensatory
 education as per above.

       Defendants propose the following briefing schedule for the motions:

       1. Both parties shall file their respective motions for summary judgment using
          the modified de novo review standard by October 24, 2022.
       2. Opposition briefs shall be filed by November 23, 2022.
       3. Reply briefs shall be filed by December 14, 2022.

       Thank you for your time and attention to this matter.

                                                 Respectfully Submitted,

                                                 By: /s/ Julie Warshaw, Esq.
                                                         Julie Warshaw, Esq.

 cc:      Jodi Howlett, Esq. (Via Email and ECF)
          D.S. and M.S. (Via Email)




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